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AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of Columbia
                 United St.at.es of America                         )
                              V.                                    )
                                                                    )      Case No.
                        Judy Fraize
                                                                    )
                     DOB:XXXXXX                                     )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant. in this case, state that the following is trne to the best of my knowledge and belief.
On or about the date(s) of                    January 6, 2021              in the county of __________ in the
                         in the Distiict of       Columbia      , the defendant(s) violated:
           Code Section                                             Offense Description
         18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds
         18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds
         40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building
         40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building




         This criminal complaint is based on these facts:
  See attached statement of facts.




         N Continued on the attached sheet.




Attested to by the applicant in accordance with the requirements of Fed. R. C1im. P. 4.1
by telephone.

Date:            01/29/2024
                                                                                                 Judge's signature

City and state:                         Washington, D.C.                          G. Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title
